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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA

                                                             CR 1:16-034

KRYSTAL ANGEL ARECHIGA




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      J. Grady Blanchard having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT J. Grady Blanchard be granted leave of

absence for the following periods: July 1, 2016 through July 11, 2016; July 22,

2016 through August 2, 2016; August 18,2016 through August 19, 2016.

      This   *7&" day of July, 2016.




                                                                )ALHALL
                                         United States District Judge
                                                ra District of Georgia
